                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION



BETTY KULINSKI,

               Plaintiff,                                     Hon. Janet T. Neff

v.                                                            Case No. 1:18-CV-1422

YATES DIAL-A-RIDE,

            Defendant.
____________________________________/

                            REPORT AND RECOMMENDATION

       This matter is before the Court on Defendant’s Motion for Judgment on the Pleadings,

(ECF No. 14), and Plaintiff’s Motion for Summary Judgment, (ECF No. 19). Pursuant to 28

U.S.C. § 636(b)(1)(B), the undersigned recommends that Plaintiff’s motion be denied,

Defendant’s motion be granted, and this matter terminated.

                                         BACKGROUND

       In her complaint, Plaintiff alleges the following. On July 28, 2016, Yates Dial-a-Ride

hired Plaintiff as a driver. In February 2018, Plaintiff was “unfairly accused of inappropriate

conduct with management.” On April 2, 2018, Plaintiff’s employment was terminated “due to

sexual harassment or insinuating a sexual relationship with management.” Plaintiff, a “Caucasian

woman,” believes that she was “discharged due to her race and gender.” Plaintiff initiated this

action on December 21, 2018, against Yates Dial-a-Ride asserting three claims under Title VII of

the Civil Rights Act of 1964: (1) retaliation; (2) race discrimination; and (3) gender discrimination.

       Defendant subsequently moved for judgment on the pleadings. Plaintiff responded by

moving for summary judgment. As the Court articulated in an October 4, 2019 Order, while
Defendant sought relief based on Plaintiff’s pleadings, it was nevertheless relying on matters

outside the pleadings. (ECF No. 33.) Accordingly, the Court converted Defendant’s motion to

a motion for summary judgment under Federal Rule of Civil Procedure 56 and permitted the parties

the opportunity to supplement their pleadings. (Id.) The parties have now supplemented their

pleadings and this matter is ready for decision.

                            SUMMARY JUDGMENT STANDARD

       Summary judgment “shall” be granted “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a). A party moving for summary judgment can satisfy its burden by demonstrating

“that the respondent, having had sufficient opportunity for discovery, has no evidence to support

an essential element of his or her case.” Minadeo v. ICI Paints, 398 F.3d 751, 761 (6th Cir. 2005).

Once the moving party demonstrates that “there is an absence of evidence to support the

nonmoving party’s case,” the non-moving party “must identify specific facts that can be

established by admissible evidence, which demonstrate a genuine issue for trial.” Amini v.

Oberlin College, 440 F.3d 350, 357 (6th Cir. 2006).

       While the Court must view the evidence in the light most favorable to the non-moving

party, the party opposing the summary judgment motion “must do more than simply show that

there is some metaphysical doubt as to the material facts.” Id. at 357. The existence of a mere

“scintilla of evidence” in support of the non-moving party’s position is insufficient. Daniels v.

Woodside, 396 F.3d 730, 734-35 (6th Cir. 2005). The non-moving party “may not rest upon [his]

mere allegations,” but instead must present “significant probative evidence” establishing that

“there is a genuine issue for trial.” Pack v. Damon Corp., 434 F.3d 810, 813-14 (6th Cir. 2006).




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       Moreover, the non-moving party cannot defeat a properly supported motion for summary

judgment by “simply arguing that it relies solely or in part upon credibility determinations.”

Fogerty v. MGM Group Holdings Corp., Inc., 379 F.3d 348, 353 (6th Cir. 2004). Rather, the non-

moving party “must be able to point to some facts which may or will entitle him to judgment, or

refute the proof of the moving party in some material portion, and. . .may not merely recite the

incantation, ‘Credibility,’ and have a trial on the hope that a jury may disbelieve factually

uncontested proof.” Id. at 353-54. In sum, summary judgment is appropriate “against a party

who fails to make a showing sufficient to establish the existence of an element essential to that

party’s case, and on which that party will bear the burden of proof at trial.” Daniels, 396 F.3d at

735.

       While a moving party without the burden of proof need only show that the opponent cannot

sustain his burden at trial, a moving party with the burden of proof faces a “substantially higher

hurdle.” Arnett v. Myers, 281 F.3d 552, 561 (6th Cir. 2002). Where the moving party has the

burden, “his showing must be sufficient for the court to hold that no reasonable trier of fact could

find other than for the moving party.” Calderone v. United States, 799 F.2d 254, 259 (6th Cir.

1986). The party with the burden of proof “must show the record contains evidence satisfying

the burden of persuasion and that the evidence is so powerful that no reasonable jury would be

free to disbelieve it.” Arnett, 281 F.3d at 561. Accordingly, summary judgment in favor of the

party with the burden of persuasion “is inappropriate when the evidence is susceptible of different

interpretations or inferences by the trier of fact.” Hunt v. Cromartie, 526 U.S. 541, 553 (1999).

                                           ANALYSIS

       As previously noted, Plaintiff has asserted three distinct Title VII claims in this matter: (1)

retaliation; (2) racial discrimination; and (3) gender discrimination. A plaintiff must satisfy two


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prerequisites before bringing a Title VII action in federal court. She must first file a charge of

employment discrimination with the Equal Employment Opportunity Commission (EEOC) and

receive a right to sue letter from the EEOC. See, e.g., White v. Northern Michigan Regional

Hospital, 698 F. Supp. 2d 950, 957-58 (W.D. Mich. 2010). She must then initiate her action in

federal court within 90 days of receiving a right-to-sue letter from the EEOC. See Lockhart v.

Holiday Inn Express Southwind, 531 F. App’x 544 (6th Cir. 2013).

        Failure by a plaintiff to timely initiate action in federal court does not deprive the court of

jurisdiction.   See Seay v. Tennessee Valley Authority, 339 F.3d 454, 469 (6th Cir. 2003).

Nevertheless, the timeliness requirement is “strictly enforced.” Graham-Humphreys v. Memphis

Brooks Museum of Art, Inc., 209 F.3d 552, 557 (6th Cir. 2000). As the Supreme Court has

observed, “[p]rocedural requirements established by Congress for gaining access to the federal

courts are not to be disregarded by courts out of a vague sympathy for particular litigants.”

Baldwin County Welcome Center v. Brown, 466 U.S. 147, 152 (1984). Rather, “experience

teaches that strict adherence to the procedural requirements specified by the legislature is the best

guarantee of evenhanded administration of the law.” Id.

        While a pro se plaintiff’s complaint to the EEOC must be “liberally construed,” any

subsequent judicial action “must be limited to the scope of the EEOC investigation reasonably

expected to grow out of the charge of discrimination.” Tisdale v. Federal Express Corp., 415

F.3d 516, 527 (6th Cir. 2005); Duggins v. Steak ’N Shake, 195 F.3d 828, 831-32 (6th Cir. 1999).

Accordingly, “where facts related with respect to the charged claim would prompt the EEOC to

investigate a different, uncharged claim, the plaintiff is not precluded from bringing suit on that

claim.” Tisdale, 415 F.3d at 527.




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       On May 4, 2018, Plaintiff filed a charge of discrimination with the EEOC alleging that

Defendant unlawfully terminated her employment because of her race.               (ECF No. 10 at

PageID.35.) Less than three weeks later, Plaintiff filed a second charge of discrimination with

the EEOC, repeating her charge of racial discrimination, but also adding a charge that she was

discharged due to her gender. (ECF No. 10 at PageID.36.) In neither of her EEOC submissions

did Plaintiff suggest that she had been subjected to unlawful retaliation.         (ECF No. 10 at

PageID.35-36.) Likewise, Plaintiff did not allege any facts from which it can reasonably be

inferred that Plaintiff was advancing a retaliation claim. (Id.) Accordingly, Plaintiff’s retaliation

claim must be dismissed for failure to exhaust administrative remedies. See Tisdale, 415 F.3d at

527.

       As for Plaintiff’s claims of racial and gender discrimination, they much be dismissed for

failure to initiate legal action in this Court timely. On May 29, 2018, the EEOC informed Plaintiff

that it was terminating its investigation of the allegations in Plaintiff’s second EEOC charge in

which Plaintiff advanced allegations of racial and gender discrimination.          (ECF No. 10 at

PageID.38.) The notice the EEOC provided to Plaintiff expressly informed her that she “may file

a lawsuit against [Yates Dial-a-Ride] under federal law based on this charge,” but warned Plaintiff

that her lawsuit “must be filed WITHIN 90 DAYS of your receipt of this notice; or your right

to sue based on this charge will be lost.” (ECF No. 10 at PageID.38 (emphasis in original).)

       There is a rebuttable presumption that Plaintiff received the EEOC’s right to sue letter

within five days of its mailing.     See Graham-Humphreys, 209 F.3d at 557.            Plaintiff has

presented no evidence to overcome this presumption. Thus, the 90-day period within which

Plaintiff could timely file legal action in this Court concerning the claims in her second EEOC

charge expired no later than September 1, 2018. Plaintiff, however, did not initiate the present


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action until December 21, 2018, rendering untimely her claims for racial and gender

discrimination.

       The EEOC did not send a right-to-sue letter to Plaintiff concerning the allegations in her

first EEOC charge until September 21, 2018. (ECF No. 10 at PageID.39.) This raises the

question whether Plaintiff’s claim of racial discrimination should be deemed timely filed because

Plaintiff filed the present action within 90 days of receiving her second right-to-sue letter.

       As Defendant notes, this does not appear to be a question courts have often confronted.

Nevertheless, the Sixth Circuit has concluded that, when a plaintiff receives multiple right-to-sue

notifications from the EEOC concerning the same or a similar EEOC charge, the 90-day window

to file an action in federal court is triggered by the initial right-to-sue letter. See Brown v. Mead

Corp., 646 F.2d 1163, 1164-67 (6th Cir. 1981) (where EEOC issued multiple right-to-sue letters

regarding the same allegation, the 90-day period to file suit in federal court was triggered by receipt

of the first right-to-sue letter); see also Haygood v. ACM Med. Lab., Inc., 642 F. App’x 27, 28 (2d

Cir. 2016); Emerick v. Wood River – Hartford School District No. 15, 2017 WL 2778624, at *6-7

(S.D. Ill. June 27, 2017) (same); Kassa v. Lifepoint Health, Inc., 2017 WL 487024, at *2 (M.D.

Ga. Feb. 6, 2017) (same). To conclude otherwise would render meaningless the relevant time

limitations, as it would enable a claimant to indefinitely extend the filing deadline simply by

securing multiple right-to-sue letters. See, e.g., Emerick, 2017 WL 2778624 at *7; Kassa, 2017

WL 487024 at *2. Moreover, here, Plaintiff’s second charge with the EEOC covered her claims

based both on race and gender. (ECF No. 10 at PageID.36.)

       While Plaintiff failed to initiate her racial and gender discrimination claims timely, she can

nevertheless avoid dismissal of these claims on statute of limitation grounds if she demonstrates

that she is entitled to equitable tolling. The Supreme Court has observed, however, that equitable


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tolling is to be applied “sparingly.” Irwin v. Department of Veterans Affairs, 498 U.S. 89, 96

(1990). When assessing whether equitable tolling applies, the Court must consider the following

factors, none of which are dispositive: (1) lack of notice of the filing requirement; (2) lack of

constructive notice of the filing requirement; (3) diligence in pursuing one’s rights; (4) absence of

prejudice to the defendant; and (5) the plaintiff’s reasonableness in remaining ignorant of the

particular legal requirement. See Dixon v. Gonzales, 481 F.3d 324, 331 (6th Cir. 2007). Plaintiff

bears the burden to demonstrate that affording her the benefit of equitable tolling is appropriate.

See, e.g., Morris v. Russellville Independent Board of Education, 2019 WL 1779583, at *4 (W.D.

Ky. Apr. 23, 2019) (collecting cases).

        Examination of the relevant factors compels the conclusion that Plaintiff is not entitled to

equitable tolling. The initial right-to-sue letter Plaintiff received from the EEOC expressly

informed her of the 90-day window within which to initiate legal action. Thus, Plaintiff cannot

claim ignorance of the applicable deadline. Plaintiff presents no argument that she has acted

diligently or reasonably in this matter. In fact, Plaintiff presents no argument that she is entitled

to equitable tolling. Having failed to meet her burden, the Court finds that Plaintiff is not entitled

to the benefit of equitable tolling.

                                          CONCLUSION

        For the reasons articulated herein, the undersigned recommends that Plaintiff’s retaliation

claim be dismissed for failure to exhaust administrative remedies and Plaintiff’s gender and racial

discrimination claims be dismissed on timeliness grounds. Accordingly, the undersigned further

recommends that: (1) Plaintiff’s Motion for Summary Judgment (ECF No. 19) be denied; (2)

Defendant’s Motion for Judgment on the Pleadings (ECF No. 14) be granted; and (3) this matter

concluded.


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       OBJECTIONS to this Report and Recommendation must be filed with the Clerk of Court

within 14 days of the date of service of this notice. 28 U.S.C. § 636(b)(1)(C). Failure to file

objections within the specified time waives the right to appeal the District Court’s order. See

Thomas v. Arn, 474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).



Dated: November 26, 2019                                   /s/ Sally J. Berens
                                                          SALLY J. BERENS
                                                          United States Magistrate Judge




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